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IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCURTENSAND QR av ABH
DADE COUNTY, FLORIDA HARVEY RUVIN, CLERK OF COURT, MIA-DADE CTY

559 8TH STREET PARTNERS (LLC) CASE NO: 2012-044242-CA-01

Plaintiff,
vs.

ARTURO REYES

Defendant (s),
/

SUGGESTION OF BANKRUPTCY

THE DEFENDANTS, Arturo Enrique Reyes and Griselda Reyes (hereinafter "Debtors”),
by and through their undersigned counsel, hereby informs this Court and Plaintiff's counsel of

the following:

1. Debtors have filed a petition for relief under Title 11, United States Code, in the United
States Bankruptcy Court for the Southern District of Florida, which bears case number:
18-15111-LMI_.

2, Relief was ordered on ___ 04/30/2018 _.

3. This action is founded on a claim from which a discharge would be a release or that

seeks to impose a charge on the property of the estate.

4, This suggestion of bankruptcy is for notice purposes only, and does not constitute a
notice of appearance by the undersigned on this case.

WHEREFORE, Debtors respectfully suggest that pursuant to 11 U.S.C.362, all
proceedings in this cause should be stayed pending further Order of the Bankruptcy Court,
Southern District of Florida.

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a true and correct copy of the foregoing Suggestion of
Bankruptcy was furnished upon the Clerk of the Court via electronic transmission and
Bello & Martinez, PLLC,2850 S Douglas Rd Ste 303,Coral Gables, FL 33134-6903 on
this 30" of April 2018.

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/s/ Patrick L. Cordero
Patrick L. Cordero, Esq.
Florida Bar 801992
